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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA
IN ADMIRALTY

CASE NO.:
HARKHAM SHIPPING, LLC

Plaintiff,
vs.

M/V DORIS T
IMO 7626748, her engines,
tackle, apparel, furniture, etc., in rem,

Defendant.
/

 

VERIFIED COMPLAINT PURSUANT TO RULE 9(h)

COMES NOW, the Plaintiff HARKHAM SHIPPING, LLC by and through its
undersigned attorneys and pursuant to Rule C of the Supplemental Admiralty Rules of the
Federal Rules of Civil Procedure, files this Complaint against the M/V DORIS T, her engines,
tackle, apparel, furniture, etc., in rem, as follows:

1. This is a case of admiralty and maritime jurisdiction as hereinafter more fully
appears. This is an admiralty and maritime claim within the meaning of Rule 9(h) of
the Federal Rules of Civil Procedure, for a judgment and maritime lien pursuant to
the provisions of 46 United States Code § 31341 — 31342 and Rule C of the Federal
Rules of Civil Procedure.

2. Plaintiff, HARKHAM SHIPPING, LLC (“HARKHAM”) was and is a Florida
company, with an office and principal place of business in Miami, Florida providing

dockage and other marine services.
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3. The M/V DORIS T, a general cargo vessel is now, and will be during the pendency of
this action, within this District and within the jurisdiction of this Court.

4. Plaintiff HARKHAM has furnished the M/V DORIS T, at the request of Owner,
various necessaries including dockage which continue to accrue for the account of the
vessel at $23,500.00 per month.

5. Necessaries, which include dockage provided to the M/V DORIS T, totaling
$94,000.00 are due and owing to HARKHAM through May 31, 2020.

6. Despite demands made, neither the vessel owner nor anyone else claiming an interest
in the vessel has tendered payment in full for the necessaries provided.

7. Because of the foregoing, the Plaintiff has been forced to incur the services of the
undersigned law firm to enforce its rights and foreclose on its maritime lien against
the Defendant vessel, and is obligated to pay reasonable attorney fee plus costs and
expenses for services provided on its behalf.

8. As a result of the foregoing, Plaintiff has a maritime lien against the M/V DORIS T
pursuant to 46 U.S.C, 31341-31342, the Maritime Lien Act, and Rule C of the
Supplemental Admiralty Rules of the Federal Rules of Civil Procedure.

9. All conditions precedent to this action have occurred or have been waived.

WHEREFORE, the Plaintiff HARKHAM SHIPPING LLC prays that judgment be

entered on its behalf for the amount of its accrued claim, plus prejudgment interest, expenses and
costs, that the vessel be condemned and sold to satisfy and pay the same, that the maritime lien
of the Plaintiff be declared a valid and existing lien in the accrued amount claimed herein
together with all amounts required to be disbursed for the care and preservation of the vessel and

that all costs and expenses incurred by the Plaintiff be taxed as costs and/or awarded against the
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vessel and that the maritime lien of the Plaintiff be declared prior and superior to the claims and
interests of all other persons, firms or corporations whatsoever, that it be declared that any
persons, firms or corporations claiming interest in the vessel are forever barred and foreclosed of
and from all rights, equity or redemption or claim of, in and to the vessel and every part thereof,

and that the Plaintiff may have such other and further relief as justice may require.

DATED this 27 _ day of May, 2020.

BLANCK & COOPER, P.A.
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BY: “S// Jonathan Cooper//

Jonathan S. Cooper, Esquire
Florida Bar Number: 99376

7676/ComplaintInRem
